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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DREW KARLBERG, et al.                               CIVIL ACTION

          v.

SANTANDER BANK, N.A.                                NO. 17-3561

                                   ORDER

          AND NOW, this    ~St.A. day of October,    2017, for the

.reasons stated in the foregoing memorandum, it is hereby ORDERED

that the motion of plaintiff Drew Karlberg to remand this action

to the Court of Common Pleas of Philadelphia County (Doc. # 8)

is GRANTED.


                                        BY THE COURT:
